Case 4:20-cv-00957-SDJ Document 555-2 Filed 07/12/24 Page 1 of 3 PageID #: 18592




                   APPENDIX A
            FILED UNDER SEAL
Case 4:20-cv-00957-SDJ Document 555-2 Filed 07/12/24 Page 2 of 3 PageID #: 18593




                                       Appendix A
              Timeline of Conduct Alleged in the Fourth Amended Complaint


   Alleged Anticompetitive or Deceptive Conduct       Alleged Launch        FAC ¶
                                                      Date                  Ref.

   Restricting access to live bids from AdX           2010                  246

   Dynamic Allocation                                 2010                  271

   Project Bernanke                                   2013                  298

   Dynamic Revenue Share (launch)                     2014                  267

   Enhanced Dynamic Allocation                        2014                  318

   Reserve Price Optimization (launch)                2015                  310

   Global Bernanke                                    2015                  331

   Violating privacy of Android users                 2015                  485

   Denial of Reserve Price Optimization               2015, 2016            535, 536

   Reserve Price Optimization (announcement)          2016                  343

   Exchange Bidding                                   2016                  366

   Dynamic Revenue Share (announcement)               2016                  327, 543

   Last Look in Exchange Bidding                      2017                  378

   Representation to “New York publisher” regarding   2017                  385, 568
   header bidding’s impact on yield

   Accelerated Mobile Pages                           2018 or earlier       410

   Project Elmo                                       2018 or earlier       404

   Open Bidding                                       2018 or earlier       425

   Entered Network Bidding Agreement with Meta        2018                  413

   Redaction of auction reports                       2018                  387

   Unified Pricing Rules                              2019                  451

   Sharing of minimum bid to win data                 2019                  380

   Predictive bid optimization tool                   2019                  381

   Representation that all bidders compete on equal   2019                  586
   footing
Case 4:20-cv-00957-SDJ Document 555-2 Filed 07/12/24 Page 3 of 3 PageID #: 18594




   Meetings with Big Tech competitors                  2019                496

   Representation that Google will not sell personal   2010, 2018, 2019,   572-577
   information                                         2020, 2021
